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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ILLINOIS


       United States of America           )                        Case No: 23 CR 175
              Plaintiff                   )
                                          )                        Judge: Maria Valdez
                                          )
                                          )
           Jawad H. Hakeem                )
             Defendant                    )


                                          ORDER


Arrest warrant issued to the FBI as to Defendant Jawad H Hakeem.




                                                         __________________________
Date: March 29, 2023                                     Magistrate Judge Maria Valdez
